     Case 3:00-cr-00048-LC-CJK          Document 1634   Filed 01/10/08   Page 1 of 1


FLN (Rev. 4/2004) Deficiency Order                                                 Page 1 of 1


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
                                     PENSACOLA DIVISION

UNITED STATES OF AMERICA

         vs                                      Case No. 3:00cr48/LAC

JERROLD GUNN



                                           ORDER

Your document, Petition to Quash Subpoena and Brief in Support of Petition to
Quash Subpoena, was referred to the undersigned with the following deficiencies:

         The attorney who signed the document is not admitted to practice in the
         NORTHERN DISTRICT OF FLORIDA [See N.D. Fla. Loc. R. 11.1(C)].

For these reasons, IT IS ORDERED that:


         The submitted hard copy of the document shall be returned by the Clerk without
         electronic filing.


DONE and ORDERED this 10th day of January, 2008.



                                           s /L.A. Collier
                                           LACEY A. COLLIER
                                           SENIOR UNITED STATES DISTRICT JUDGE
